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                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA


 MEGAN REEVES,
        Plaintiff,                            Case No. 5:22-cv-01910-SB-MRW
                                              Case No. 5:22-cv-02021-SB-MRW
  v.

 CITY OF PALM SPRINGS et al.,                 ORDER GRANTING
                                              APPLICATIONS TO PROCEED
        Defendant.                            WITHOUT PAYING A FILING
                                              FEE

 MEGAN REEVES,
        Plaintiff,

  v.
 RIVERSIDE COUNTY SHERIFF’S
 DEPARTMENT et al.,
        Defendants.


      Plaintiff Megan Reeves filed applications to proceed in the above-captioned
actions, in which she asserts claims arising from the death of her domestic partner,
without paying filing fees. On November 22, the Court requested more
information about Plaintiff’s finances in order to rule on her applications. Plaintiff
submitted a supplemental declaration in both actions, and the Court now finds that
the applications make an adequate showing of indigency. See Escobedo v.
Applebees, 787 F.3d 1226, 1234 (9th Cir. 2015). Thus, the Court grants Plaintiff’s
applications to proceed in both cases without paying filing fees.

IT IS SO ORDERED.

Date: December 16, 2022                       ___________________________
                                                    Stanley Blumenfeld, Jr.
                                                  United States District Judge



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